Case 2:10-cv-02745-JTF-cgc Document 13 Filed 02/24/11 Page 1 of 3                 PageID 34
01400-69044 RER



              IN THE UNITED STATES DISTRICT COURT OF TENNESSEE
                  FOR THE WESTERN DISTRICT, WESTERN DIVISION


JENNIFER DUNN,              )
                            )
     Plaintiff,             )
                            )
VS.                         )                      Docket No.: 2:10-cv-02745
                            )
ALLSTATE INSURANCE COMPANY, )
                            )
     Defendant.             )



______________________________________________________________________

      CONSENT ORDER GRANTING DEFENDANT ALLSTATE INSURANCE
           COMPANY’S MOTION FOR LEAVE TO AMEND ANSWER
______________________________________________________________________

        This cause came before the Court upon motion of Defendant Allstate Insurance

Company, pursuant to Rule 15 of the Federal Rules of Civil Procedure, for leave to

amend its Answer to supplement its Third Defense. Allstate Insurance Company seeks

to supplement and amend its Answer to include the following italicized language in its

Third Defense:

                                     THIRD DEFENSE

        Defendant would state that it is not liable to Plaintiff for any sum because Plaintiff

violated those provisions of the insurance policy set forth below:

GENERAL

                  Misrepresentation, Fraud or Concealment. We do not cover any loss
                  or occurrence in which any insured person has concealed or
                  misrepresented any material fact or circumstance.

                  Action Against Us. No one may bring an action against us unless there
                  has been full compliance with all policy terms.

SECTION I – LOSSES WE DO NOT COVER

                                              1
Case 2:10-cv-02745-JTF-cgc Document 13 Filed 02/24/11 Page 2 of 3                  PageID 35
01400-69044 RER



        C.8.      Intentional or criminal acts of or at the direction of any insured person, if
                  the loss that occurs: a) may be reasonably expected to result from such
                  acts; or b) is the intended result of such acts. This exclusion applies
                  regardless of whether or not the insured person is actually charged with,
                  or convicted of, a crime.

SECTION 1 – CONDITIONS

        3.        What You Must Do After A Loss. In the event of a loss to any property
                  that may be covered by this policy, you must:
                  (d) give us all accounting records, bills, invoices and other vouchers, or
                  certified copies, which we may reasonably request to examine and permit
                  us to make copies.

        12.       Action Against Us. No one may bring an action against us in any way
                  related to the existence or amount of coverage, or the amount of loss for
                  which coverage is sought, under a coverage to which Section 1
                  Conditions applies, unless:
                  a) there has been full compliance with all policy terms.

A violation of any of these provisions of the insurance policy is a complete and absolute

defense to payment herein.

        After reviewing Allstate’s Motion and hearing from counsel for the parties, it

appears that Defendant’s Motion to Amend should be granted.

        IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that the

Defendant’s Motion to Amend Answer is hereby granted and that Defendant shall be

permitted to file an Amended Answer to include the modified THIRD DEFENSE, as set

forth above.

        It is so ORDERED this the 24th day of February, 2011.


                                                    s/Bernice B. Donald
                                                    BERNICE B. DONALD
                                                    UNITED STATES DISTRICT JUDGE




                                                2
Case 2:10-cv-02745-JTF-cgc Document 13 Filed 02/24/11 Page 3 of 3   PageID 36
01400-69044 RER



APPROVED FOR ENTRY:


RAINEY, KIZER, REVIERE & BELL, P.L.C.


By:_______/s/ Russell E. Reviere________
Russell E. Reviere (07166)
Attorney for Defendant
209 East Main Street
P. O. Box 1147
Jackson, TN 38302-1147
(731) 423-2414


_____/s/ Ronald T. Riggs (per telephone consent dated 2/15/10)_
Ronald T. Riggs
Attorney for Plaintiff
3201-100 North Main Building
Memphis, TN 38103




                                         3
